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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


 ARCHER AND WHITE SALES, INC.

                  Plaintiff,                        Civil Action No. 2:12-CV-00572-
                                                    JRG
         v.

 HENRY SCHEIN, INC., DANAHER
 CORPORATION, INSTRUMENTARIUM
 DENTAL, INC., DENTAL EQUIPMENT,
 LLC, KAVO DENTAL TECHNOLOGIES,
 LLC, AND DENTAL IMAGING
 TECHNOLOGIES CORPORATION,

                  Defendants.


                                   JOINT STATUS REPORT




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         Pursuant to the Court’s February 15, 2019 Order, Dkt. No. 407, the parties hereby submit

 this joint status report regarding the effect of the Supreme Court’s decision in Henry Schein, Inc.

 v. Archer & White Sales, Inc., No. 17-1271 (U.S. Jan. 8, 2019).

                                POSITIONS ON ISSUES RENDERED MOOT

 1.      Plaintiff’s Position on General Status and Issues Rendered Moot.

         The Supreme Court decided that the “wholly groundless” exception is inconsistent with

 the Federal Arbitration Act. This Court denied Defendants’ motions to compel arbitration

 partially on that ground. See Dkt. No. 63, at 14-17. The Court also denied the motions on the

 independent ground that the parties did not clearly and unmistakably agree to arbitrate the

 arbitrability of actions seeking injunctive relief. See id. at 13-14. That delegation issue, and

 whether non-signatories to the arbitration agreement can invoke equitable estoppel, remain

 before the Fifth Circuit. Pursuant to that Court’s request, the parties filed supplemental briefs on

 those issues on Monday, February 25, 2019.

         Because the Supreme Court addressed only the wholly groundless exception, no other

 motions, issues, claims, or portions thereof before this Court are rendered moot by the Court’s

 opinion. All of the claims and issues raised in Archer’s Second Amended Complaint, Dkt. No.

 261, remain live.

         Archer’s position is that the Court should schedule a motions hearing in July and a trial

 setting in September or October. Archer intends to move for an amended docket control order

 along those lines shortly. Archer agrees with defendants that the Fifth Circuit likely will issue a

 decision soon, but that decision probably will return the case to this Court for trial because the

 arbitration clause does not clearly and unmistakably delegate arbitrability. This Court previously




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 denied Defendants’ motions to compel arbitration for that very reason, Dkt. No. 63, at 12-14, and

 the Fifth Circuit said that Archer has a “strong argument” against delegation. C.A. Op. at 8.

         There is no need for a stay pending the Fifth Circuit’s decision. Both this Court and the

 Fifth Circuit denied Defendants’ previous motions to stay pending appeal. See Dkt. Nos. 88, 326.

 There is no harm in putting this case on the Court’s calendar. If the Fifth Circuit has not issued a

 decision by July (when Archer proposes a hearing), the Court and the parties can reassess at that

 time. But there is no reason to keep the case off of the Court’s calendar.

         This case was filed in 2012. It has dragged on long enough. Issuing a stay and declining

 to set a trial date will only cause further needless delay.

 2.      Defendants’ Position on General Status and Issues Rendered Moot.

         This case is currently before the Fifth Circuit on remand from the Supreme

 Court. Should the Fifth Circuit decide to refer the case to arbitration, all of the issues before this

 Court would be moot. Defendants’ position, therefore, is that the Fifth Circuit should be given

 the opportunity to decide whether this case should be sent to arbitration before this Court takes

 any further action.

         Defendants expect that this will happen quickly. The Supreme Court issued its mandate

 on February 11, 2019 and, two days later, on February 13, 2019, the Fifth Circuit gave the parties

 12 days to submit simultaneous supplemental briefs addressing the impact of the Supreme

 Court’s decision on the remaining arbitration issues in the appeal. The parties filed their

 supplemental briefs on February 25, 2019. Oral argument has not been scheduled. A decision is

 expected shortly.

            Accordingly, given the pendency of the appeal and the possibility the Court of Appeals

 may in short order direct that the case be sent to arbitration, Defendants respectfully request that


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 the Court stay this case pending further ruling from the Fifth Circuit. Contemporaneous with this

 submission, Defendants are filing a motion to stay this case pending the Fifth Circuit’s

 ruling. The Supreme Court unanimously stayed all proceedings below pending its disposition of

 the issues before it. Under the Supreme Court’s standard for a stay, this indicated that Supreme

 Court had concluded that irreparable harm would result from allowing the case to be litigated in

 court before the arbitration issues could be resolved. Barnes v. E-Systems, Inc. Group Hosp.

 Med. & Surgical Ins. Plan, 501 U.S. 1301, 1302 (1991). The Supreme Court subsequently

 remanded to the Fifth Circuit “for further proceedings consistent with this opinion” in order to

 allow the Fifth Circuit to resolve the remaining arbitration issues on appeal. For the same

 reasons that supported the Supreme Court’s entry of a stay until issues regarding arbitration

 could be resolved, Defendants respectfully submit that a brief stay is warranted here to allow the

 Fifth Circuit to rule on the remaining arbitration issues.


                                JOINT LIST OF MOTIONS BEFORE THE COURT

         Subject to the statements above, the motions listed below still present live issues for the

 Court to resolve. Please note that briefing is complete on these motions:

         1.       Discovery Motions

                 Dkt. Nos. 220, 240, 248 – Joint Submission on Disagreement Over the Redaction
                  of the Amended Complaint

                 Dkt. Nos. 228, 239 – Plaintiff’s Motion to Compel Patterson to Produce
                  Investigation Materials1



         2.       Motions to Dismiss

 1
   The Court already granted part of this motion, but carried the portion with respect to
 government investigation materials until the Initial Pretrial Conference. See Dkt. No. 391.

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                 Dkt. Nos. 276, 284 – Benco’s Motion to Dismiss Second Amended Complaint

                 Dkt. Nos. 278, 287, 305, 315 – Patterson’s Motion to Dismiss Second Amended
                  Complaint

                 Dkt. Nos. 279, 290, 313, 316 – Manufacturing Defendants’ Motion to Dismiss
                  Second Amended Complaint

                 Dkt. Nos. 280, 290, 312, 316 – Danaher Corp.’s Motion to Dismiss Second
                  Amended Complaint

                 Dkt. Nos. 288, 317, 327, 334 – Schein’s Motion to Dismiss Second Amended
                  Complaint


         3.       Motions for Summary Judgment

                 Dkt. Nos. 289, 353, 365, 396 – Patterson’s Motion for Summary Judgment

                 Dkt. Nos. 292, 353, 370, 396 – Benco’s Motion for Summary Judgment

                 Dkt. Nos. 293, 353, 367, 396 – Schein’s Motion for Partial Summary Judgment

                 Dkt. Nos. 296, 353, 368, 396 – Schein’s Motion for Summary Judgment on
                  Horizontal Conspiracy Claims

                 Dkt. Nos. 299, 353, 371, 396 – Manufacturer Defendants’ Motion for Summary
                  Judgment

                 Dkt. Nos. 352, 367 n.5, 372 – Plaintiff’s Objections to Defendants’ Summary
                  Judgment Evidence

                 Dkt. Nos. 364, 395 – Benco’s Objections to Archer’s Summary Judgment
                  Evidence

                 Dkt. Nos. 369, 395 – Schein’s Objections to Archer’s Summary Judgment
                  Evidence

                 Dkt. Nos. 372, 395 – Manufacturer Defendants’ Objections to Archer’s Summary
                  Judgment Evidence


         4.       Motions to Exclude Expert Testimony



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                 Dkt. Nos. 291, 319 – Plaintiff’s Motion to Strike Expert Designations of
                  Defendants’ Non-Retained Experts2

                 Dkt. Nos. 298, 322, 350, 366 – Defendants’ Joint Motion to Exclude the
                  Testimony of Archer’s Expert Witnesses


         5.       Motions in Limine

                 Dkt. Nos. 332, 380, 387 – Plaintiff’s Motions in Limine

                 Dkt. Nos. 358, 378 – Defendants’ Omnibus Motion in Limine




 2
   Though the Court has not ruled on this motion, the Defendants withdrew the designations, and
 the parties agree that the motion is moot for that reason. See Dkt. No. 319.

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                         JOINT LIST OF OTHER PENDING PRE-TRIAL MATTERS

 1.      Deposition Designations

         The Parties exchanged initial designations. The Parties have not yet exchanged counter-

 designations and objections. Nor have the parties exchanged objections and counter designations

 to the initial counter designations.



 2.      Witness Lists

         The Parties exchanged initial witness lists. The Parties have not yet exchanged updated

 witnesses lists or any objections.



 3.      Exhibit Lists

         The Parties exchanged initial exhibit lists. The Parties have not yet exchanged updated

 exhibit lists or any objections.



 4.      Joint Proposed Jury Instructions and Form of Verdict

         The Parties have not exchanged draft Proposed Jury Instructions or a Form of Verdict.



 5.      Joint Pre-Trial Order

         The Parties have not exchanged a draft Joint Pre-Trial Order.




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 Dated: March 1, 2019.                    MCKOOL SMITH, P.C.

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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document has

 been served on all counsel of record via ECF on March 1, 2019.

                                                   /s/ Samuel F. Baxter
                                                   Samuel F. Baxter




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